Case• Ensure
      7:18-cv-01626-LSC
             Items 1, 2, and 3 are completed.
                                              Document 5 Filed 10/22/18 Page 1 of 1                                          FILED
                                                                                                                      2018 Oct-22 PM 01:46
     • Attach this card to the back of the mall piece, or on
       the front if space pennlts.                                                                                    U.S. DISTRICT COURT
                                                                                                   C.   Date of Dellvery  N.D. OF ALABAMA

     1. Article Addressed to:                                                                             DYes
                                                                                                          DNo

       INTERSTATE MANAGEMENT COMPANY, LLC
       CORPORATION SERVICE COMPAN'l'. INC.
       641 SOUTH LAWRENCE STREET
       MONTGOMERY AL 36104-5809                                LC/'
    c.~    Nz».1·.\5-cv-()11o-z.tQ-                             ~                      I


                                                                      3.S.~          C.:J
                                                                           ··-I      f...)


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                                         0701 9150 50
     2. Article Number (Transfer from service label)

         9414 7118 9956 0701 9150 18
     PS Form 3811 Facsimile, July 2015 {SOC 3930)                                                Domestic Return Recalpt
